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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF LOUISIANA



 GREGORY D CRAIN                                           CIVIL ACTION

 VERSUS                                                    NO. 15-1777

 SCHLUMBERGER TECHNOLOGY CORPORATION                       SECTION “H”(2)



                                    JUDGMENT

       Considering the verdict of the jury rendered on October 4, 2016,
      IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that Judgment

be entered in favor of Plaintiff, Gregory D Crain, and against Defendant, Schlumberger

Technology Corporation in the amount of $77,007.00.


              New Orleans, Louisiana, this 4th day of October, 2016.


                        _________________________________
                            JANE TRICHE MILAZZO
                       UNITED STATES DISTRICT JUDGE
